Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 1 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 2 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 3 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 4 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 5 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 6 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 7 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 8 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                           Exhibit B Page 9 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                          Exhibit B Page 10 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                          Exhibit B Page 11 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                          Exhibit B Page 12 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                          Exhibit B Page 13 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                          Exhibit B Page 14 of 15
Case 21-02909-hb   Doc 39-2 Filed 12/03/21 Entered 12/03/21 17:17:55   Desc
                          Exhibit B Page 15 of 15
